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ILND 248 (Rev. 01/21) ORDER ON MOTION FOR SENTENCE REDUCTION UNDER 18 U.S.C. § 3582(c)(1)(A)



                                          UNITED STATES DISTRICT COURT
                                      FOR THE NORTHERN DISTRICT OF ILLINOIS

          UNITED STATES OF AMERICA
                                                                          Case No. 15-cr-260-1

                                                                          ORDER ON MOTION FOR
          v.                                                              SENTENCE REDUCTION UNDER
                                                                          18 U.S.C. § 3582(c)(1)(A)

                                                                          (COMPASSIONATE RELEASE)
          DAVID COLLETTI

                  Upon motion of ☒ the defendant ☐ the Director of the Bureau of Prisons for a

         reduction in sentence under 18 U.S.C. § 3582(c)(1)(A), and after considering the applicable

         factors provided in 18 U.S.C. § 3553(a) and the applicable policy statements issued by the

         Sentencing Commission,

         IT IS ORDERED that the motion is:

            ☒ DENIED
            ☐ GRANTED

               ☐ The defendant’s previously imposed sentence of imprisonment of

         is reduced to                                           .

               ☐ The sentence is reduced to Time Served.

                  If the defendant’s sentence is reduced to Time Served:

                          ☐        This order is stayed for up to fourteen days, for the verification of the

                                   defendant’s residence and/or establishment of a release plan, to make

                                   appropriate travel arrangements, and to ensure the defendant’s safe

                                   release. The defendant shall be released as soon as a residence is verified,

                                   a release plan is established, appropriate travel arrangements are made,
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                 and it is safe for the defendant to travel. There shall be no delay in

                 ensuring travel arrangements are made. If more than fourteen days are

                 needed to make appropriate travel arrangements and ensure the

                 defendant’s safe release, the parties shall immediately notify the court and

                 show cause why the stay should be extended; or

         ☐       There being a verified residence and an appropriate release plan in place,

                 this order is stayed for up to fourteen days to make appropriate travel

                 arrangements and to ensure the defendant’s safe release. The defendant

                 shall be released as soon as appropriate travel arrangements are made and

                 it is safe for the defendant to travel. There shall be no delay in ensuring

                 travel arrangements are made. If more than fourteen days are needed to

                 make appropriate travel arrangements and ensure the defendant’s safe

                 release, then the parties shall immediately notify the court and show cause

                 why the stay should be extended.

☐       The defendant must provide the defendant’s complete residence address to the

        probation office in the district to which the defendant is released.

☐       Under 18 U.S.C. § 3582(c)(1)(A), the defendant is ordered to serve a “special

        term” of ☐probation or ☐ supervised release of        months (not to

        exceed the unserved portion of the original term of imprisonment).

         ☐ The defendant’s previously imposed conditions of supervised release apply

         to the “special term” of supervision; or
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                 ☐ The conditions of the “special term” of supervision are as follows:

      Click or tap here to enter text.



     ☐ The defendant’s previously imposed conditions of supervised release are unchanged.

     ☐ The defendant’s previously imposed conditions of supervised release are modified as

     follows:

      Click or tap here to enter text.


    ☐ Additional grounds for the order:

      Click or tap here to enter text.




IT IS SO ORDERED.




Dated:3/1/2021
                                                 UNITED STATES DISTRICT JUDGE
